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 1   JOSHUA H. LERNER, SBN 220755               MARK D. SELWYN, SBN 244180
       jlerner@gibsondunn.com                    mark.selwyn@wilmerhale.com
 2   GIBSON, DUNN & CRUTCHER LLP                WILMER CUTLER PICKERING,
     555 Mission Street Suite 3000               HALE AND DORR LLP
 3   San Francisco, CA 94105                    2600 El Camino Real, Suite 400
     Tel.: 415.393.8200 / Fax: 415.393.8306     Palo Alto, CA 94306
 4                                              Tel.: 650.858.6000 / Fax: 650.858.6100
     H. MARK LYON, SBN 162061
 5     mlyon@gibsondunn.com                     ILISSA SAMPLIN, SBN 314018
     GIBSON, DUNN & CRUTCHER LLP                  isamplin@gibsondunn.com
 6   1881 Page Mill Road                        GIBSON, DUNN & CRUTCHER LLP
     Palo Alto, CA 94304-1211                   333 South Grand Avenue
 7   Tel.: 650.849.5300 / Fax: 650.849.5333     Los Angeles, CA 90071-3197
                                                Tel.: 213.229.7000 / Fax: 213.229.7520
 8   BRIAN M. BUROKER, pro hac vice
       bburoker@gibsondunn.com                  ANGELIQUE KAOUNIS, SBN 209833
 9   BRIAN K. ANDREA, pro hac vice                akaounis@gibsondunn.com
       bandrea@gibsondunn.com                   GIBSON, DUNN & CRUTCHER LLP
10   GIBSON, DUNN & CRUTCHER LLP                2029 Century Park East Suite 4000
     1050 Connecticut Avenue, N.W.              Los Angeles, CA 90067
11   Washington, D.C. 20036                     Tel.: 310.552.8546 / Fax: 310.552.7026
     Tel.: 202.955.8500 / Fax: 202.467.0539
12
     BRIAN A. ROSENTHAL, pro hac vice
13     brosenthal@gibsondunn.com
     GIBSON, DUNN & CRUTCHER LLP
14   200 Park Avenue
     New York, NY 10166-0193
15   Tel.: 212.351.2339 / Fax: 212.817.9539
16   Attorneys for Defendant Apple Inc.
17                       UNITED STATES DISTRICT COURT
18                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
19
     MASIMO CORPORATION,                        CASE NO. 8:20-cv-00048-JVS (JDEx)
20   a Delaware corporation; and
     CERCACOR LABORATORIES, INC.,
21   a Delaware corporation,                    DEFENDANT APPLE INC.’S NOTICE
                                                OF MOTION AND MOTION FOR
22                      Plaintiffs,             PARTIAL SUMMARY JUDGMENT
                                                ON THE THIRTEENTH CAUSE OF
23         v.                                   ACTION FOR TRADE SECRET
                                                MISAPPROPRIATION, OR TO
24   APPLE INC.,                                BIFURCATE TRIAL IN THE
     a California corporation,                  ALTERNATIVE
25
                        Defendant.              Hearing
26
                                                Date: February 7, 2022
27                                              Time: 1:30pm
                                                Courtroom: 10C
28                                              Judge: Hon. James V. Selna

     APPLE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT OR BIFURCATION
                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
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 1           TO THE COURT, PLAINTIFFS, AND ALL COUNSEL OF RECORD:
 2   PLEASE TAKE NOTICE that on February 7, 2022, or as soon thereafter as
 3   the matter may be heard, in Courtroom 10C, located at 411 West Fourth Street, Santa
 4   Ana, California, 92701, Defendant Apple Inc. (“Apple”) will, and hereby does, move
 5   the Court for an order granting partial summary judgment in Apple’s favor on the trade
 6   secret claim alleged in Plaintiffs’ Fourth Amended Complaint—or, in the alternative,
 7   bifurcation.
 8           Specifically, Apple moves for partial summary judgment on Plaintiffs’ trade
 9   secret claim because it is barred by the statute of limitations. See Cal. Civ. Code
10   § 3426.6. In the alternative, Apple respectfully requests that this Court bifurcate the
11   trial, so that Apple can present its statute-of-limitations case to a jury as soon as
12   possible.
13           This motion is made following the conference between counsel pursuant to
14   L.R. 7-3, which took place on November 30, 2021.
15           This motion is supported by the accompanying Memorandum of Points and
16   Authorities, the Proposed Statement of Undisputed Facts and Conclusions of Law, the
17   Declaration of Brian Andrea, a Proposed Order, and such other evidence or argument
18   as may be presented at or before the hearing.
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     APPLE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT OR BIFURCATION
                                               1          CASE NO. 8:20-cv-00048-JVS (JDEX)
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 4   Dated:      December 7, 2021         Respectfully submitted,
 5                                        JOSHUA H. LERNER
                                          H. MARK LYON
 6                                        BRIAN M. BUROKER
                                          BRIAN A. ROSENTHAL
 7                                        ILISSA SAMPLIN
                                          ANGELIQUE KAOUNIS
 8                                        BRIAN ANDREA
                                          GIBSON, DUNN & CRUTCHER LLP
 9
                                          MARK D. SELWYN
10                                        WILMER CUTLER PICKERING HALE AND
                                          DORR LLP
11
12
                                          By: /s/ Mark D. Selwyn
13                                            Mark D. Selwyn
14
                                          Attorneys for Defendant Apple Inc.
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     APPLE’S NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT OR BIFURCATION
                                               2          CASE NO. 8:20-cv-00048-JVS (JDEX)
